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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

 IN RE: CENTURYLINK SALES                 MDL No. 17-2795 (MJD/KMM)
 PRACTICES AND SECURITIES
 LITIGATION                               DEFENDANT’S MEMORANDUM OF
                                          LAW IN SUPPORT OF ITS MOTION
 This Document Relates to:                TO TEMPORARILY STAY
  0:17-cv-02832 0:17-cv-04622             DISCOVERY PENDING
  0:17-cv-04613 0:17-cv-04943             RESOLUTION OF FORTHCOMING
  0:17-cv-04614 0:17-cv-04944             MOTION TO COMPEL
  0:17-cv-04615 0:17-cv-04945             ARBITRATION AND ENFORCE
  0:17-cv-04616 0:17-cv-04947             CLASS-ACTION WAIVERS
  0:17-cv-04617 0:17-cv-05001
  0:17-cv-04618 0:17-cv-05046
  0:17-cv-04619




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        Thirty-seven of the 38 named Plaintiffs agreed to arbitrate their claims, and all 38

named Plaintiffs agreed to waive their right to participate in class action litigation. As a

result, Defendant CenturyLink, Inc., and certain of its affiliates (if allowed to intervene)

(collectively “Defendants”), will shortly file a Motion to Compel Arbitration and Enforce

Class-Action Waivers (“Motion to Compel”).1 Under well-established nationwide

precedent, the Court should temporarily stay discovery while it considers that motion.

        Defendants will demonstrate in its Motion to Compel that 37 of the 38 named

Plaintiffs agreed to extremely broad arbitration provisions, which (1) cover all claims

“arising under or related to” billing and service issues, and (2) apply both to the

contracting party (the “Operating Companies,” which sold, provided and billed services

to Plaintiffs) and to its affiliates (including Defendant, their parent entity). Based upon a

consistent string of Supreme Court opinions enforcing arbitration agreements in

consumer contracts, the Court should enforce these agreements and compel Plaintiffs’

cases to arbitration.

        Because there are substantial grounds to arbitrate, the Court should temporarily

stay discovery until it rules on the Motion to Compel, for these reasons:

        1.     Prejudice. Defendants would be severely prejudiced if Plaintiffs are

permitted to seek class-wide discovery in this proceeding before they are compelled to

arbitration. First, because the parties (and the Operating Companies) agreed to arbitrate,



1
      Certain of Defendant’s affiliates will file a Motion to Intervene for the Limited
Purpose of Compelling Arbitration and Enforcing Class-Action Waivers and will join in
this Motion, if the Court permits.


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this Court has no jurisdiction over the cases or the scope of discovery. Second, Plaintiffs

contractually agreed to limit disputes to their individual claims and not to bring or

participate in class-wide litigation. If discovery is not temporarily stayed, Defendants

would be deprived of its contractual rights; Plaintiffs will obtain class-wide discovery

that is inconsistent with and beyond the scope of their contractual agreements; and the

Court would supplant the authority of arbitrators’ to determine the scope of discovery for

arbitrable claims. Once discovery commences, these harms cannot be undone, but

Plaintiffs would not suffer any prejudice from a temporary stay. In fact, Defendants have

already informally produced over 7,200 pages of documents relating to Plaintiffs’

individual claims.

        2.    Avoiding Excessive Burdens and Costs. If the Court does not temporarily

stay discovery, the Court and parties will undertake enormous and costly efforts that will

be wasted when the claims are compelled to arbitration. Plaintiffs are seeking far-

reaching, class-wide discovery that will impose substantial costs on the parties – to search

for and produce responsive information and documents, and to litigate privilege, work

product, and other disputes that are already on the horizon. No reason exists for the

parties and Court to bear this burden in light of the Plaintiffs’ agreement to arbitrate their

claims.

        3.    Discovery Tailored for Any Remaining Claims. The Court’s resolution of

the Motion to Compel will likely substantially change the focus and scope of this

proceeding. The Motion will be resolved shortly. It would be premature to start massive,

class-wide discovery before the Court resolves the Motion to Compel. In the unlikely

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event that any Plaintiff’s class-wide claims survive the express contractual remedies, the

scope of discovery for those remaining claims (if any) will be far narrower than the

massive discovery Plaintiffs currently seek. Logically, before allowing discovery to start

on a much larger scale, the Court should first determine what discovery ultimately will be

necessary for the remaining claims, and particularly whether any class-wide discovery is

appropriate in light of the class-action waivers.

        For these reasons, the Court should temporarily stay discovery until it rules on

Defendants’ forthcoming Motion to Compel.2

                                     BACKGROUND

I.      THE OPERATING COMPANIES HAVE A LONGSTANDING POLICY OF
        REQUIRING CUSTOMERS TO AGREE TO ARBITRATION AND
        CLASS-ACTION WAIVERS

        In their forthcoming Motion to Compel, Defendants will show (through Plaintiffs’

account records) that 37 of the named Plaintiffs in this case – 35 residential customers

and two small businesses – agreed to broad, all-compassing arbitration and class-action

waiver clauses in their service contracts with the Operating Companies. These clauses

appear in the standard terms applicable to the Operating Companies’ (1) high-speed

internet services (called “HSI”); (2) television services (called “Prism”); and

(3) automatic and/or online payment features (called “Autopay,” “Quick Bill Pay” and

“My Account”). Similarly, the records show that the 38th Plaintiff, Michael Maguire (a

small business), agreed to a class-action waiver.


2
       Defendants reserve their rights to raise any procedural and substantive defenses to
Plaintiffs’ claims, including, for example, defenses based on lack of personal jurisdiction.

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        A.    Internet Services

        Each of the Plaintiffs is (or was) a customer of an Operating Company’s HSI

services. Declaration of Travis Beard (“Beard Decl.”), ¶ 3, filed contemporaneously

herewith. Before this past fall, the Operating Companies had two variations of these

standard contracts for HSI services; the Operating Companies rolled out a nationwide,

standardized contract in fall 2017. Id. ¶ 7. Each of the 37 Plaintiffs is bound to one of

these three contracts.

              1.     Residential HSI Contract

        The HSI services of seven of the 37 Plaintiffs are governed by a standard contract

called the “High-Speed Internet and Internet Access Services Residential Terms and

Conditions” (the “Residential HSI Contract”). Id. ¶¶ 8-9 & Exh. 1 attached thereto. The

Residential HSI Contract sets forth a provision entitled “Mandatory Arbitration of

Disputes,” which provides in part:

              INSTEAD OF SUING IN COURT, YOU AND COMPANY
              AGREE TO ARBITRATE ANY AND ALL CLAIMS,
              CONTROVERSIES OR DISPUTES OF ANY KIND
              (“CLAIMS”) AGAINST EACH OTHER. THIS INCLUDES
              BUT IS NOT LIMITED TO CLAIMS ARISING OUT OF
              OR RELATING TO THIS AGREEMENT, AS WELL AS
              CLAIMS ARISING OUT OF OR RELATING TO
              COMPANY’S SERVICES OR SOFTWARE, BILLING OR
              ADVERTISING, OR ARISING OUT OF OR RELATING
              TO EQUIPMENT YOU OR COMPANY MAY USE IN
              CONNECTION WITH COMPANY’S SERVICES. THE
              REQUIREMENT TO ARBITRATE APPLIES EVEN IF A
              CLAIM ARISES AFTER YOUR SERVICES HAVE
              TERMINATED; APPLIES TO ALL CLAIMS YOU MAY
              BRING AGAINST COMPANY’S EMPLOYEES, AGENTS,
              AFFILIATES OR OTHER REPRESENTATIVES; AND
              APPLIES TO ALL CLAIMS THAT COMPANY MAY

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               BRING AGAINST YOU.

Beard Decl. ¶ 10 & Exh. 1 ¶ 15(B) (emphases added).3 The same clause sets forth the

customer’s agreement to waive participation in a class-action lawsuit, either as a

representative or a class member:

               YOU AND COMPANY FURTHER AGREE THAT
               NEITHER COMPANY NOR YOU WILL JOIN ANY
               CLAIM WITH A CLAIM OR CLAIMS OF ANY OTHER
               PERSON(S) OR ENTITY(IES), WHETHER IN A
               LAWSUIT, ARBITRATION, OR ANY OTHER
               PROCEEDING. YOU AND COMPANY AGREE THAT
               NO CLAIMS WILL BE ASSERTED IN ANY
               REPRESENTATIVE CAPACITY ON BEHALF OF
               ANYONE ELSE, THAT NO CLAIMS WILL BE
               RESOLVED ON A CLASS-WIDE OR COLLECTIVE
               BASIS, THAT NO ARBITRATOR OR ARBITRATION
               FORUM WILL HAVE JURISDICTION TO ACCEPT OR
               DETERMINE ANY CLAIMS ON A CLASS-WIDE OR
               COLLECTIVE BASIS, AND THAT NO RULES FOR
               CLASS-WIDE OR COLLECTIVE ARBITRATION WILL
               APPLY. . . .

Id. (emphases added).

               2.     High-Speed Internet Subscriber Agreement

        The HSI services of other customers, including 28 of the 37 Plaintiffs, are

governed by the “High-Speed Internet Subscriber Agreement,” also sometimes called the

“Combined Modem & Subscriber Agreement” (the “HSI Subscriber Agreement”). Beard

Decl. ¶¶ 12-13 & Exh. 2 attached thereto. The HSI Subscriber Agreement also contains a

“Dispute Resolution and Arbitration” provision that states, in part:


3
       The Residential HSI Contract contains numerous other arbitration-related terms
including selection of the CPR Institute for Dispute Resolution as the forum and
applicable rules.

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              17. Dispute Resolution and Arbitration; Governing Law.
              PLEASE READ THIS SECTION CAREFULLY. IT
              AFFECTS RIGHTS THAT YOU MAY OTHERWISE
              HAVE. IT PROVIDES FOR RESOLUTION OF DISPUTES
              THROUGH MANDATORY ARBITRATION WITH A
              FAIR HEARING BEFORE A NEUTRAL ARBITRATOR
              INSTEAD OF IN A COURT BY A JUDGE OR JURY OR
              THROUGH A CLASS ACTION.

              (a) Arbitration Terms. You agree that any dispute or claim
              arising out of or relating to the Services, Equipment,
              Software, or this Agreement (whether based in contract,
              tort, statute, fraud, misrepresentation or any other legal
              theory) will be resolved by binding arbitration. The sole
              exceptions to arbitration are that either party may pursue
              claims: (1) in small claims court that are within the scope of
              its jurisdiction, provided the matter remains in such court
              and advances only individual (non-class, non-representative,
              non- consolidated) claims; and (2) in court if they relate
              solely to the collection of any debts you owe to CenturyLink.

Beard Decl. ¶ 14 & Exh. 2 ¶¶ 17 & 17(a).4 As does the Residential HSI Agreement, the

HSI Subscriber Agreement also contains a “Waiver of Jury and Class Action” clause:

              (b) Waiver of Jury and Class Action. By this Agreement,
              both you and CenturyLink are waiving rights to litigate
              claims or disputes in court (except small claims court as set
              forth in paragraph (a) above). Both you and CenturyLink
              also waive the right to a jury trial on your respective claims,
              and waive any right to pursue any claims on a class or
              consolidated basis or in a representative capacity.

Id. Exh. 2 ¶ 17(b).




4
       The HSI Subscriber Agreement also provides detailed procedure (including
selection of the AAA as the forum) and allocation of costs of the arbitration.

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              3.     2017 HSI Agreement

        In August 2017, the Operating Companies standardized their contracts for HSI

services by rolling out a new version of the “CenturyLink High-Speed Internet Subscriber

Agreement” (“2017 HSI Agreement”), which replaced the Residential HSI Agreement or

the HSI Subscriber Agreement for affected customers. For legal reasons Defendants will

explain in the Motion to Compel, the 2017 HSI Agreement does not govern customers in

this case who were either named plaintiffs or putative class members in these lawsuits

that had already been filed at the time of the rollout of the 2017 HSI Agreement.

Applying that rule to the 37 Plaintiffs, the 2017 HSI Agreement governs the Operating

Companies’ services to at least two Plaintiffs in these lawsuits.

        The 2017 HSI Agreement includes an equally broad arbitration provision:

              17. Dispute Resolution and Arbitration; Governing Law.
              PLEASE READ THIS SECTION CAREFULLY. IT
              AFFECTS RIGHTS THAT YOU MAY OTHERWISE
              HAVE. IT PROVIDES FOR RESOLUTION OF DISPUTES
              THROUGH MANDATORY ARBITRATION WITH A
              FAIR HEARING BEFORE A NEUTRAL ARBITRATOR
              INSTEAD OF IN A COURT BY A JUDGE OR JURY OR
              THROUGH A CLASS ACTION. THE ARBITRATION
              PROVISION IS SET FORTH BELOW IN PARAGRAPH (a)
              (“ARBITRATION TERMS”). YOU MAY REJECT THE
              ARBITRATION TERMS PROVISION BY SENDING US
              WRITTEN NOTICE TO THE ARBITRATION NOTICE
              ADDRESS PROVIDED BELOW WITHIN 30 DAYS
              AFTER YOU BEGIN RECEIVING THE SERVICES.
              YOUR REJECTION NOTICE MUST STATE THAT YOU
              REJECT THE ARBITRATION TERMS PROVISION AND
              INCLUDE YOUR NAME, ADDRESS, ACCOUNT
              NUMBER, AND PERSONAL SIGNATURE.

              (a) Arbitration Terms. You agree that any dispute or claim
              arising out of or relating in any way to the Services,

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              Equipment, Software or this Agreement (whether based in
              contract, tort, statute, fraud, misrepresentation or any other
              legal theory), will be resolved by binding arbitration. This
              means that the arbitrator, and not any court, shall have
              exclusive authority to resolve any dispute or claim arising
              under or relating to (among other subjects) the interpretation,
              applicability, enforceability or formation of this Agreement,
              including but not limited to any dispute or claim that all of
              this Agreement, or any part of this Agreement other than this
              arbitration, provision, is void, voidable, lacking in
              consideration, illusory, invalid, unconscionable, or for any
              reason unenforceable. The sole exceptions to arbitration are
              that either party may pursue claims: (1) in small claims court
              that are within the scope of its jurisdiction, provided the
              matter remains in such court and advances only individual
              (non-class, non-representative, nonconsolidated) claims; and
              (2) in court if they relate solely to the collection of any debts
              you owe to CenturyLink.

Beard Decl. ¶¶ 16-17 & Exh. 3 ¶¶ 17 & 17(a) attached thereto. It also includes a class-

action waiver:

              (b) Waiver of Jury and Class Action. By this Agreement,
              both you and CenturyLink are waiving rights to litigate
              claims or disputes in court (except small claims court as set
              forth in paragraph (a) above). Both you and CenturyLink also
              waive the right to a jury trial on your respective claims, and
              waive any right to pursue any claims on a class or
              consolidated basis or in a representative capacity.

Id. Exh. 3 ¶ 17(b).

        B.    Prism TV Services Subscriber Agreement

        Seven of the 37 Plaintiffs also subscribed to an Operating Company’s television

services (branded “Prism”). Beard Decl. ¶¶ 18-19. Each Prism customer must agree to

the “Prism TV Services Subscriber Agreement” (the “Prism Subscriber Agreement”),

which similarly contains a broad “Mandatory Arbitration of Disputes”:



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             YOU AND CENTURYLINK AGREE TO ARBITRATE
             ANY AND ALL CLAIMS, CONTROVERSIES OR
             DISPUTES OF ANY KIND (“CLAIMS”) AGAINST EACH
             OTHER, INCLUDING BUT NOT LIMITED TO CLAIMS
             ARISING OUT OF OR RELATING TO THIS
             AGREEMENT, OR CENTURYLINK’S SERVICES,
             SOFTWARE, BILLINGS, ADVERTISINGS, OR
             EQUIPMENT. THIS AGREEMENT TO ARBITRATE IS
             INTENDED TO BE BROADLY INTERPRETED AND
             APPLIES TO, AMONG OTHERS: ALL CLAIMS
             REGARDLESS OF WHETHER THEY ARE BASED IN
             CONTRACT, TORT, STATUTE, FRAUD,
             MISREPRESENTATION OR ANY OTHER LEGAL
             THEORY; ALL CLAIMS THAT AROSE PRIOR TO YOUR
             RECEIPT OF SERVICES FROM CENTURYLINK (SUCH
             AS FROM ADVERTISINGS) OR PRIOR TO THIS
             AGREEMENT; ALL CLAIMS THAT ARISE AFTER THE
             TERMINATION OF CENTURYLINK’S SERVICES TO
             YOU OR AFTER THE TERMINATION OF THIS
             AGREEMENT; ALL CLAIMS YOU MAY BRING
             AGAINST CENTURYLINK’S EMPLOYEES, AGENTS,
             AFFILIATES OR OTHER REPRESENTATIVES; AND
             ALL CLAIMS THAT CENTURYLINK MAY BRING
             AGAINST YOU.

Beard Decl. ¶¶ 18, 20 & Exh. 4 ¶ 7(B) attached thereto. This same clause also contains a

class-action waiver:

             YOU AND CENTURYLINK AGREE, HOWEVER, THAT
             NEITHER CENTURYLINK NOR YOU WILL JOIN ANY
             CLAM WITH A CLAIM OR CLAIMS OF ANY OTHER
             PERSON(S) OR ENTITY(IES), WHETHER IN A
             LAWSUIT, ARBITRATION, OR ANY OTHER
             PROCEEDING. YOU AND CENTURYLINK AGREE
             THAT NO CLAIMS WILL BE ASSERTED IN ANY
             REPRESENTATIVE CAPACITY ON BEHALF OF
             ANYONE ELSE, THAT NO CLAIMS WILL BE
             RESOLVED ON A CLASS-WIDE OR COLLECTIVE
             BASIS, THAT NO ARBITRATOR OR ARBITRATION
             FORUM WILL HAVE JURISDICTION TO ADJUDICATE
             OR DETERMINE ANY CLAIMS ON A CLASS-WIDE OR
             COLLECTIVE BASIS, AND THAT NO RULES FOR

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              CLASS-WIDE OR COLLECTIVE ARBITRATION WILL
              APPLY.

Id.

        C.    Electronic and Online Payment Terms and Conditions

        The Operating Companies also offer customers various methods for accessing

their account information and conveniently paying their bills. Three of these methods

include: (1) the ability to sign up for automatic deductions from their bank accounts (a

feature called “Autopay”); (2) the ability to make payments over the internet (a feature

called “Quick Bill Pay”); and (3) the ability to create an online account (“My Account”).

Beard Decl. ¶ 21. Several of the 37 Plaintiffs used one or more of these features. Id.

¶ 22.

        A customer who enrolls in Autopay online, uses the Quick Bill Pay feature, or

creates a My Account profile has to affirmatively agree to a contract called the

“Electronic and Online Payment Terms and Conditions” (the “Electronic/Online

Agreement”). Id. ¶ 23 & Exh. 5 attached thereto. This contract includes a mandatory

arbitration clause that governs all disputes about any services or billing issues:

              You and CenturyLink agree to arbitrate any and all
              claims, controversies or disputes of any kind (“Claims”)
              against each other, including but not limited to Claims
              arising out of or relating to this Agreement, or any
              CenturyLink Products, billings, or advertisings. This
              agreement to arbitrate is intended to be broadly interpreted
              and applies to, among others: all Claims regardless of
              whether they are based in contract, tort, statute, fraud,
              misrepresentation or any other legal theory; all Claims that
              arose prior to your receipt of CenturyLink Products (such as
              from advertisings) or prior to this Agreement; all Claims that
              arise after the termination of CenturyLink Products to your or

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               after the termination of this Agreement; all Claims you may
               bring against CenturyLink’s employees, agents, affiliates or
               other representatives; and all Claims that CenturyLink may
               bring against you.

Beard Decl. ¶ 24 & Exh. 5 ¶ 12(B). As with all the other contracts, in the

Electronic/Online Agreement, the customer waives any right to proceed on a class-wide

basis:

               You and CenturyLink agree, however, that neither
               CenturyLink nor you will join any Claim with a claim or
               claims of any other person(s) or entity(ies), whether in a
               lawsuit, arbitration, or any other proceeding. You and
               CenturyLink agree that no Claims will be asserted in any
               representative capacity on behalf of anyone else, that no
               Claims will be asserted in any representative capacity on
               behalf of anyone else, that no Claims will be resolved on a
               classwide or collective basis, that no arbitrator or arbitration
               forum will have jurisdiction to adjudicate or determine any
               Claims on a class-wide or collective basis, and that no rules
               for class-wide or collective arbitration will apply.

Id.

         D.    Business HSI Agreement

         Plaintiff Michael Maguire agreed to a contract called the “CenturyLink Business-

Class High-Speed Internet Services Annex,” along with the “Standard Terms and

Conditions for Communications Services” (the “Business HSI Agreement”). Beard Decl.

¶ 25 & Exhs. 6 & 7 attached thereto. The Business HSI Agreement contains a waiver of

jury trial; and, in the event that clause is found unenforceable, the contract requires

arbitration. Beard Decl. ¶ 26 & Exh. 7 ¶ 17.4.C & D. Like each of the foregoing

agreements, the Business HSI Agreement contains a class-action waiver:




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              Waiver of Jury Trial and Class Action. Each party, to the
              extent permitted by law, knowingly, voluntarily, and
              intentionally waives its right to a jury trial and any right to
              pursue any claim or action relating to the Agreement on a
              class or consolidated basis or in a representative capacity.

Id. & Exh. 7 ¶ 17.4.C.

II.     THE 37 PLAINTIFFS AFFIRMATIVELY ACCEPTED THESE
        ARBITRATION AND CLASS-ACTION WAIVER CLAUSES

        In their forthcoming Motion to Compel, Defendants will demonstrate with

Plaintiffs’ account records that each of the 37 Plaintiffs affirmatively accepted one or

more of the arbitration clauses and class-action waivers quoted above, in a number of

different ways.

        1.    At installation of HSI services, the Operating Company’s network

automatically directs a customer with a company-provided modem to a website, which

(after the customer’s identity is confirmed) displays the entirety of the relevant HSI

contract – and the Prism Subscriber Agreement, if the customer had purchased that too.

Beard Decl. ¶ 27. The customer cannot use the internet until the customer affirmatively

clicks “I agree” when presented with the terms of the contracts. Id. ¶ 28. If the customer

does not click “I agree,” then the customer is prompted to call the Operating Company to

cancel the internet service. Id. The Operating Companies have affirmative records of

many of the Plaintiffs clicking on the “I agree” button. See, e.g., id. ¶ 29 & Exh. 8

attached thereto.

        2.    The Plaintiffs who chose to enroll in Autopay online, create a My Account

profile, or use the Quick Bill Pay feature also were required to affirmatively assent to the


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Electronic/Online Payment Agreement, which contained the arbitration clause and class-

action waiver. When enrolling in or using these online features, a customer must check a

box indicating that he or she has read and accepts the Agreement. There is a link to the

full text of the agreement just above or next to the acceptance box. Beard Decl. ¶ 30.

The Operating Companies have affirmative records of some Plaintiffs using these

services in which they would have agreed to the Electronic/Online Payment Agreement.

See, e.g., id. ¶ 31 & Exh. 8.

        3.    After a customer orders a service, the customer typically receives a

“Confirmation of Service” (“COS”) letter that describes the services that the customer

just ordered. Beard Decl. ¶ 32. Many of the COS letters expressly state that the

customer’s use of the services would be contingent upon their acceptance of a contract

containing an arbitration provision. Id. ¶ 33. As but one example, one of the Plaintiffs

received a COS letter that said:

              Your CenturyLink® High-Speed Internet Service and related
              products are offered under the High-Speed Internet
              Subscriber Agreement terms, which are located at
              centurylink.com/legal/highspeedinternetsubscriberagreement.
              Please review the terms, which include late fees, arbitration
              and limits on CenturyLink liability. If you do not agree, call
              CenturyLink to cancel your service within 30 days.
              CenturyLink updates the Subscriber Agreement from time to
              time and your continued use of the service(s) constitutes your
              acceptance of any changes.

Id. & Exh. 9, attached thereto. Defendants will show that many of the 37 Plaintiffs

received COS letters identical or similar to this one. Many of the COS letters received by

Plaintiffs also expressly provided the customer with a 30-day period to cancel the order.


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Beard Decl. ¶ 34 & Exh. 9. After receiving these COS letters informing them of the

arbitration agreements, or being informed that they have 30-days to cancel the order,

none of the Plaintiffs cancelled their order within this 30-day period. Beard Decl. ¶ 35.

         In sum, each of the 37 Plaintiffs affirmatively clicked “I agree” to one or more

express, mandatory arbitration agreements, and/or chose not to cancel his or her service

order after being informed that the services would be governed by mandatory arbitration

agreements.

III.     PLAINTIFFS RAISE A WIDE VARIETY OF
         DISPUTES THAT ARE SUBJECT TO ARBITRATION

         In their Consolidated Class Action Complaint filed February 15, 2018 (ECF No.

38) (“CCAC”), the Plaintiffs allege a disparate variety of grievances with their services

and bills, loosely bundled under the umbrella of “sales practices.” Each Plaintiff states a

different kind of claim; no two have the same kind of dispute. For instance:

             Plaintiff Luke Allison, who subscribed to CenturyLink’s high-speed
              internet service, alleges that he did not receive promised discounts and that
              his bill included undisclosed fees. (CCAC ¶¶ 143-48.)

             Plaintiff Jubilee Lawhead, alleges that her high-speed internet and
              telephone services were initiated three weeks later than promised, that she
              was billed for services she did not receive, and that she received lower-
              than-promised internet speeds. (CCAC ¶¶ 387-93.)

             Plaintiff Richard Lucero, who subscribed to high-speed internet service,
              alleges that unauthorized accounts were opened in his name, and that he
              was improperly billed for a modem he did not use. (CCAC ¶¶ 301-08.)

Based on their widely-varying claims against different Operating Companies, Plaintiffs

seek a nationwide class of, “All persons or entities in the United States who, during the

Class Period, had an account for telephone or internet services with Defendant.” CCAC


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¶ 415. Additionally, they seek to certify fifteen state subclasses. CCAC ¶ 416.5 But

each of these claims falls squarely within the broad language of the arbitration

agreements and class-action waivers.

        Based on agreement with Plaintiffs, Defendant will respond to the CCAC by April

27, 2018. Defendant’s response will include filing a Motion to Compel Arbitration and

Enforce Class-Action Waivers, which the Operating Companies will join with the

permission of the Court.

IV.     PLAINTIFFS IMMEDIATELY INTEND TO SEEK MASSIVE,
        NATIONWIDE DISCOVERY ON A CLASS-WIDE BASIS

        Defendant met and conferred with Plaintiffs numerous times in the Rule 26(f)

process. Defendant raised the issue of staying discovery pending a ruling on the Motion

to Compel in the very first discussion, and several times thereafter. In a number of

discussions between counsel, Plaintiffs rejected the notion of staying discovery, and

further, have indicated they intend to ask the Court for immediate discovery on a class-

wide basis. The sheer size of that discovery, if permitted, will be massive.

        In the Rule 26(f) conference, Plaintiffs refused to agree to a stay of discovery.

Declaration of Douglas P. Lobel (“Lobel Decl.”) ¶ 2, filed contemporaneously herewith.

They indicated they expect discovery to start immediately after the April 5 conference.



5
       Plaintiffs assert causes of action for (1) violation of Federal Communications Act
and Truth-in-Billing Requirements, (2) breach of contract, (3) breach of duty of good
faith and fair dealing, (4) violation of state consumer protection statutes, (5) violation of
the Louisiana Unfair Trade Practices and Consumer Protection Law, (6) negligent
misrepresentation, (7) fraudulent inducement, and (8) unjust enrichment. (CCAC ¶¶ 422-
431, 432-445, 446-456, 457-482, 483-506, 507-518, 519-529, 530-544.)

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Id. Plaintiffs also said they want discovery to be “class-wide” – meaning, discovery will

address all documents and witnesses concerning Defendant’s and its affiliates’

nationwide sales and billing practices concerning “all customers.” Id. ¶ 3. That

necessarily implicates sales and bills to about 5.6 million internet customers and about a

quarter of a million Prism customers. Beard Decl. ¶ 4.

        Given the nationwide scope and large number of customers, the amount of

discovery Plaintiffs seek is enormous. Plaintiffs demanded, and Defendant agreed, that

Plaintiffs may take 300 hours of deposition testimony (including both fact and corporate

witnesses, but excluding expert depositions) for their class-action claims. Depositions

are likely to include Plaintiffs, current employees, former employees, and probably third

parties (such as the Operating Companies’ affiliates and vendors). Lobel Decl. ¶ 4.

        In addition, Plaintiffs will ask Defendant to produce a staggering number of

documents. Already, Plaintiffs “informally” have asked Defendant to produce 9.7

million pages of documents – and that is even before serving a single document request

on Defendant or any of the Operating Companies. Lobel Decl. ¶ 5.

        The Court is certain to have to resolve numerous discovery disputes. For instance,

as part of the informal exchange of information before discovery, Plaintiffs asked

Defendant to produce: (1) all materials related to a privileged and work-product

investigation, done by a major national law firm to assist a special committee of

independent members of Defendant’s Board of Directors, and (2) every document

Defendant or its affiliates have provided to various state investigators. Id. ¶ 6. Defendant

objected, stating that it has significant objections to these improper requests, so these

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requests should be made through formal discovery so that Defendant can lodge formal

objections and the Court has a proper record for any motions. Id. ¶ 7. If Plaintiffs repeat

these requests in formal discovery, as they are likely to do, the Court will need to

adjudicate motions on all these matters. Defendant anticipates the Court also will have to

resolve numerous other discovery disputes that typically occur in complex litigation. Id.

¶ 8.

                          DISCOVERY STAYS PENDING
                        MOTION TO COMPEL ARBITRATION

         When considering whether claims should be heard by an arbitrator, courts

recognize the wisdom of staying significant discovery for a temporary period. E.g., Wells

Fargo Ins. Servs. USA, Inc. v. Kyle King & Sherman Ins. Agency, Inc., No. 15-cv-4378

(PJS/HB), 2016 WL 6892108, at *4 (D. Minn. July 29, 2016) (“[C]ourts have regularly

stayed discovery while the court considers whether a case must instead proceed in

arbitration.”); Stiener v. Apple Comput., Inc., No. C 07-4486 SBA, 2007 WL 4219388, at

*1 (N.D. Cal. Nov. 29, 2007) (recognizing that short stays of discovery are “a common

practice while motions to compel are pending.”) Intertec Contracting Turner Steiner Int'l,

S.A., No. 98 CIV. 9116 (CSH), 2001 WL 812224, at *7 (S.D.N.Y. July 18, 2001) (“As is

the general practice of district courts, a stay of discovery was imposed in this case while

the motion to compel arbitration was pending before the Court.”).

         Moreover, where a pending motion, if granted, would dispose of all or

substantially all of the case and it “appears to have substantial grounds” and is “not

unfounded in the law,” discovery should be stayed during the pendency of the motion.


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Anti-Monopoly, Inc. v. Hasbro, Inc., No. 94Civ.2120 (LMM)(AJP), 1996 WL 101277, at

*4 (S.D.N.Y. Mar. 7, 1996); see also TE Connectivity Networks, Inc. v. All Sys.

Broadband, Inc., No. 13-1356 ADM/FLN, 2013 WL 4487505, at *2 (D. Minn. Aug. 20,

2013).

         In deciding to issue a stay, Courts also “consider, among other things, whether a

stay would unduly prejudice or give a clear tactical advantage to one party, whether a

stay will simplify the issues in question and the trial of the case, and whether discovery is

complete and a trial date has been set.” Wells Fargo, 2016 WL 6892108, at *3.

                                       ARGUMENT

         Because Defendant’s forthcoming arbitration motion is based on “substantial

grounds” and is well-founded, and a stay will conserve resources and not prejudice

Plaintiffs, the Court should temporarily stay discovery until it determines whether any

claims should be litigated in this Court.

I.       THERE ARE SUBSTANTIAL GROUNDS FOR THE MOTION TO
         COMPEL ARBITRATION THAT ARE WELL FOUNDED

         Based upon the plain language of the above-quoted contract provisions, there are

substantial grounds on which the Court should compel arbitration of Plaintiffs’ individual

claims. The salient grounds and well-settled law are:

         1.    The Operating Companies’ policy and practice is that all residential

customers must agree to such terms before they can receive services; small business

customers must do so as well. Beard Decl. ¶ 6. Effectuating this policy and practice, the

internet and television contracts governing Plaintiffs’ agreements with the Operating


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Companies include clear, express arbitration and class-action waiver clauses. Federal

courts have a strong policy of enforcing arbitration agreements to the maximum extent

possible, including in consumer contracts. E.g., DIRECTV, Inc. v. Imburgia, 136 S. Ct.

463, 471 (2015); AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 352 (2011). Federal

courts have compelled arbitration under some of these specific contracts. E.g., Numrich

v. Qwest Corp., 3:14-CV-01864-BR, 2015 WL 1883917, at *7 (D. Or. Apr. 23, 2015);

Vernon v. Qwest Commc’ns Int’l, Inc., 925 F. Supp. 2d 1185, 1195 (D. Colo. 2013).

        2.    Plaintiffs affirmatively assented to these contracts, including by either

(1) clicking “I Agree” before initiating service, or (2) using the service and not cancelling

after being informed of the arbitration clauses. Cf. Heath v. Travelers Cos., No. 08-6055

(JRT/JJG), 2009 U.S. Dist. LEXIS 131422, at *8-10 (D. Minn. May 18, 2009)

(“[C]licking a hyperlink can constitute valid assent to a contract, including an agreement

to arbitrate.”); Wagner v. Discover Bank, No. 12-cv-02786-MSK-BNB, 2014 U.S. Dist.

LEXIS 3682, at *7-9 (D. Colo. Jan. 13, 2014) (plaintiff bound to arbitration clause where

contract was mailed to him, and then plaintiff used the service).

        3.    The arbitration clauses are extremely broad and encompass the different

types of sales and billing claims in this Proceeding. Each clause requires the Plaintiffs to

arbitrate all claims “arising out of or relating to” the Operating Companies’ “services,”

“billings,” and/or “advertisings.” This language creates a binding obligation to arbitrate a

broad range of possible disputes. Fleet Tire Serv. of N. Little Rock v. Oliver Rubber Co.,

118 F.3d 619, 621, & 621 n.2 (8th Cir. 1997) (indicating that the language “arising out of

or relating to” constitutes “the broadest language the parties could reasonably use to

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subject their disputes” to arbitration). Courts routinely hold that such language extends to

claims like those raised by Plaintiffs here. For example:

              In Hamilton-Warwick v. Verizon Wireless, the court found that plaintiff’s
               action “center[ing] around a billing dispute” fell within the scope of a broad
               arbitration agreement. No. 16-3461 (JRT/BRT), 2017 U.S. Dist. LEXIS
               68532, at *12-13 (D. Minn. Apr. 12, 2017).

              In Schreiner v. Credit Advisors, Inc., the court found that a Nebraska
               Consumer Protection Act claim fell within the scope of an arbitration
               clause requiring the parties to arbitrate “any controversy or claim arising
               out of or relating to th[e] contract.” No. 8:07cv78, 2007 U.S. Dist. LEXIS
               74014, at *23-24 (D. Neb. Oct. 2, 2007).

              In Ambrose v. Comcast Corp., the court compelled arbitration of Truth-in-
               Billing claims pursuant to a broad arbitration agreement. No. 3:09-cv-182,
               2010 U.S. Dist. LEXIS 31767, at *11 (E.D. Tenn. Mar. 31, 2010).

              In N&D Fashions, Inc. v. DHJ Indus., Inc., the court held that, though
               plaintiff’s claim was “nominally based on fraud and misrepresentation
               rather than breach of contract, it plainly ar[ose] ‘in relation to’ the contract,
               and so [wa]s within the scope of th[e] broad arbitration clause.” 548 F.2d
               722, 728 (8th Cir. 1976).

        4.      Defendant, as the parent holding company that Plaintiffs improperly named

as the sole Defendant, is entitled to avail itself of the Operating Companies’ arbitration

clause for these reasons:

              Plaintiffs agreed to arbitrate their claims not only against the Operating
               Companies – their service providers – but also against any “affiliates,”
               which include Defendant. E.g., Torres v. Simpatico, Inc., 781 F.3d 963,
               971 (8th Cir. 2015) (nonsignatory could enforce an arbitration clause where
               arbitration clause covered claims involving the signatories’ “affiliates”).6



6
       Plaintiffs’ claims against three of the Operating Companies, which provided only
phone services, fall within the ambit of this same provision of the Residential HSI
Contract because they too are “affiliates” of the Operating Company that provided
internet services.

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             Under the circumstances of the Plaintiffs’ claims, Defendant can invoke the
              arbitration clause even though Defendant is not a party to the contracts.7

             Plaintiffs have sued Defendant for breach of contract (e.g., CCAC ¶¶ 432-
              445). Plaintiffs cannot have it both ways – if they allege Defendant is the
              party to their contracts, then Defendant is entitled to invoke the arbitration
              and class-action waiver classes in those contracts.

        At this time, the Court is not ruling on the Motion to Compel, and does not need to

be convinced that Defendants will prevail on the Motion. Instead, the Court need only to

determine that the Motion has “substantial grounds” and is “not unfounded in the law.”

The applicable contract language and related evidence present a powerful record on

which to conclude the Motion to Compel has “substantial grounds” and an extremely

well-founded basis in the law.




7
        E.g., CD Partners, LLC v. Grizzle, 424 F.3d 795, 798 (8th Cir. 2005) (“A
nonsignatory can enforce an arbitration clause against a signatory to the agreement . . .
‘when the signatory to a written agreement containing an arbitration clause must rely on
the terms of the written agreement in asserting its claims against the nonsignatory.’”
(citation omitted)); J.J. Ryan & Sons, Inc. v. Rhone Poulenc Textile, S.A., 863 F.2d 315,
320-21 (4th Cir. 1988) (“When the charges against a parent company and its subsidiary
are based on the same facts and are inherently inseparable, a court may refer claims
against the parent to arbitration even though the parent is not formally a party to the
arbitration agreement.”); Sec. Life Ins. Co. of Am. v. Sw. Reinsure, Inc., No. CIV. 11-
1358 (MJD/JJK), 2013 WL 500362, at *6 (D. Minn. Feb. 11, 2013) (Davis, J.) (“‘This
equitable estoppel rule may compel arbitration for nonsignatories when (a) a signatory’s
claim makes reference to or presumes the existence of the written agreement containing
the arbitration clause; or (b) the claim involves a close relationship between signatory and
non-signatory parties, raising allegations of substantially interdependent and concerted
misconduct.’” (citation omitted)).

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II.     THE COURT SHOULD TEMPORARILY STAY DISCOVERY UNTIL IT
        RULES ON DEFENDANTS’ MOTION TO COMPEL ARBITRATION

        Because the Plaintiffs agreed to arbitrate their disputes and waive proceeding on a

class-wide basis, Defendants would incur both prejudice and unnecessary expenses of

class-wide discovery that Plaintiffs contractually agreed not to seek.

        A.     Plaintiffs Will Obtain Class-Wide Discovery
               That They Contractually Agreed Not to Seek

        If the parties agreed to arbitrate their disputes, this Court lacks jurisdiction over

the matter, including authorizing discovery under the Federal Rules of Civil Procedure on

those disputes. Corpman v. Prudential-Bache Sec., Inc., 907 F.2d 29, 31 (3d Cir. 1990),

quoting Suarez-Valdez v. Shearson Lehman/American Express, Inc., 858 F.2d 648, 649

(11th Cir. 1988) (“An agreement to arbitrate is an agreement to proceed under arbitration

and not under court rules.”). Instead, it is the arbitrator who determines the proper scope

of discovery for an arbitration. 9 U.S.C. § 7; CIGNA HealthCare of St. Louis, Inc. v.

Kaiser, 294 F.3d 849, 855 (7th Cir. 2002) (“If a dispute is arbitrable, responsibility for

the conduct of discovery lies with the arbitrators . . . .”); Wells Fargo, 2016 WL 6892108,

at *5 (“if arbitration is ordered, determination of the proper scope of discovery will be up

to the arbitrator”). If discovery starts before any claims are compelled to arbitration, the

arbitrator’s authority to manage discovery would be usurped. CIGNA HealthCare, 294 at

855 (permitting “discovery on the merits” before “the issue of [the] arbitrability [of the

dispute] is resolved puts the cart before the horse”).

        Proceeding with discovery before determining which claims are arbitrable (or

subject to class-action waivers) creates two problems. First, it would enable Plaintiffs to

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obtain discovery that they are legally and contractually barred from taking. Second, it

would impose significant expenses that will be wasted.

               1.     A Temporary Stay Would Avoid Discovery
                      To Which Plaintiffs Might Not Be Entitled

        If the Court does not temporarily stay discovery, Plaintiffs will seek and obtain

extensive discovery on class-wide issues, involving company-wide systems and policies,

thousands of putative class members, and other information Plaintiffs deem relevant to

their Rule 23 arguments and to litigation of absent class members’ claims. Virtually none

of this information will be relevant to the arbitrations, which by agreement will involve

only individual claims and not any class-wide claims.

        Thus, without a temporary stay, Plaintiffs will have effectively negated

Defendants’ rights to have an arbitrator manage discovery pursuant to the tribunal’s rules.

See Wells Fargo, 2016 WL 6892108, at *5 (where the scope of discovery in arbitration

was “likely to be more limited than would otherwise be permitted in federal court

litigation,” “to permit broader discovery on all issues to proceed before [the decision on

the motion to compel arbitration] would deprive [the parties] of one of the significant

benefits of arbitration”); NBC v. Bear Stearns & Co., 165 F.3d 184, 190-91 (2d Cir.

1999) (“Opening the door to the type of discovery sought . . . in this case likely would

undermine one of the significant advantages of arbitration, and thus arguably conflict

with the strong federal policy favoring arbitration as an alternative means of dispute

resolution.”). Plaintiffs will also have effectively negated their agreements to arbitrate




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individual disputes and refrain from engaging in class-wide litigation. This prejudice

cannot be undone if the disputes are later found to be arbitrable.

        By contrast, Plaintiffs would not be prejudiced by a temporary stay of discovery.

For claims compelled to arbitration, those Plaintiffs can hardly claim prejudice by not

being able to take discovery to which they are not contractually entitled. Defendants

have already informally produced thousands of pages of documents concerning

Plaintiffs’ individual claims – likely the very documents an arbitrator would require to be

produced. What additional discovery these Plaintiffs are entitled to seek on their

individual claims is a matter for the arbitrators to decide. Furthermore, waiting to see

what discovery is appropriate for the claims remaining in the case avoids wasted expense

and effort. A brief delay to sort out which claims are arbitrable is not prejudicial. E.g.,

Roadbuilders Mach. Supply Co. v. Sennebogen, Inc., No. 11-2681-KHV-DJW, 2012 WL

1253265, at *2 (D. Kan. Apr. 13, 2012) (finding that plaintiffs would not be unduly

prejudiced by a stay of discovery in the beginning of the discovery process).

              2.     A Temporary Stay of Discovery Would
                     Avoid Excessive Burdens and Expenses

        Furthermore, because any class-wide discovery would be irrelevant to the

arbitration proceedings, a temporary stay of discovery would avoid the extensive burdens

and costs of Plaintiffs’ massive, class-wide discovery, which will be irrelevant to their

claims when compelled to arbitration.

        Because the arbitrations will not involve class-wide claims, any class-wide

discovery Plaintiffs obtain prior to being compelled to arbitration would be wasted.


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Without a temporary stay of discovery, the parties are exposed “to the very complexities,

inconveniences and expenses of litigation that [the parties] determined to avoid [by

agreeing to arbitrate].” Suarez-Valdez, 858 F.2d at 649-50 (Tjoflat, J., concurring);

accord Alascom, Inc. v. ITT N. Elec. Co., 727 F.2d 1419, 1422 (9th Cir. 1984) (without a

temporary stay of discovery while considering a motion to compel arbitration, “the

advantages of arbitration—speed and economy—[would be] lost forever”); Wells Fargo,

2016 WL 6892108, at *5 (“[T]o permit broader discovery on all issues to proceed before

[the decision on the motion to compel arbitration] would deprive [the parties] of one of

the significant benefits of arbitration.”).

        The Judicial Panel on Multidistrict Litigation created this Proceeding to avoid

wasting the Court’s and parties’ time and resources. Transfer Order at 2 (ECF No. 1)

(ordering centralization to, inter alia, “conserve the resources of the parties, their counsel,

and the judiciary”). It would not “conserve resources” for the parties to conduct

extensive, class-wide discovery when that discovery will likely be made irrelevant by the

Court’s decision on the Motion to Compel. Cf. Mahamedi IP Law, LLP v. Paradice &

Li, LLP, No. 5:16-cv-02805-EJD, 2017 WL 2727874, at *2 (N.D. Cal. Feb. 14, 2017)

(staying discovery pending resolution of the motion to compel arbitration and noting that

“a stay of discovery promotes the ‘just, speedy, and inexpensive’ resolution of this case”

(citation omitted)); Miceli, 2016 WL 1170994, at *2 (“It is in the interest of conserving

the resources of the parties and the court to stay discovery in this action pending a

determination of the motion to compel arbitration.”).



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        B.     A Temporary Stay of Discovery Would Allow the Court to Determine
               the More Limited Scope of Discovery for Any Non-Arbitrable Claims

        While it is likely that no class-wide claim will remain in this Proceeding, if any

claims were to survive the Motion to Compel, a temporary stay of discovery would allow

the Court to fashion an appropriate discovery plan for any remaining class-wide claims.

If for some reason other Plaintiffs’ claims are not compelled to arbitration, the scope of

discovery for those claims would be limited to each Plaintiffs’ standing to assert class-

wide claims (recognizing, for example, limitations on claims about different types of

services or conduct, or regarding customers of different affiliates).

        Logically, the Court cannot determine the scope of discovery for this Proceeding

until after it first determines whether any non-arbitrable, class-wide claims remain in the

Proceeding, and the scope of those claims as to conduct, injuries and defendants. Wells

Fargo, 2016 WL 6892108, at *5 (staying discovery where motion to compel would

“significantly simplify” the claims against the remaining defendant in the litigation). The

Court should therefore temporarily stay discovery, determine what claims are not

arbitrable, and then allow discovery that is appropriate for only those remaining, non-

arbitrable claims. To do otherwise would put the cart before the horse.

        Even the one Plaintiff not subject to an arbitration agreement, Plaintiff Maguire,

agreed to a class-action waiver. If the Court ultimately determines that his case is the

only non-arbitrable claim, then class-wide discovery is inappropriate for his case.




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                                     CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court stay

discovery in these proceedings until it resolves Defendants’ forthcoming Motion to

Compel Arbitration and Enforce Class-Action Waivers.

Date: April 2, 2018                       Respectfully submitted,

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